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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )             Case Nos. 05-595M-5
10         v.                             )              CR05-0393-JCC-5
                                          )
11   RUPINDER SINGH GILL,                 )
                                          )             DETENTION ORDER
12               Defendant.               )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute MDMA and Marijuana in violation of 21 U.S.C. § 841(a)(1),

16 841(b)(1)(C), and 846.

17 Date of Detention Hearing: October 14, 2005.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)     There appear to be no apparent conditions or combination of conditions existing

22 that will reasonably assure the defendant’s appearance at future Court hearings.

23          (2)     Defendant has stipulated to detention, due to an immigration detainer lodged

24 against him, but reserves the right to contest his continued detention if there is a change in

25 circumstances.

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         IT IS THEREFORE ORDERED:

02         (1)   Defendant shall be detained pending trial and committed to the custody of the

03               Attorney General for confinement in a correction facility separate, to the extent

04               practicable, from persons awaiting or serving sentences or being held in custody

05               pending appeal;

06         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

07               counsel;

08         (3)   On order of a court of the United States or on request of an attorney for the

09               government, the person in charge of the corrections facility in which defendant

10               is confined shall deliver the defendant to a United States Marshal for the purpose

11               of an appearance in connection with a court proceeding; and

12         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United States

14               Pretrial Services Officer.

15
                 DATED this 10th day of November, 2005.


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                                                       JAMES P. DONOHUE
18                                                     United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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